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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JAMES HEIRONIMUS,                       §
on behalf of himself and                §
all others similarly situated,          §
                                        §
             Plaintiff,                 §
v.                                      §         No. 17-CV-121
                                        §
CAVALRY PORTFOLIO                       §         CLASS ACTION
SERVICES, LLP, and                      §
                                        §
RAUSCH, STURM, ISRAEL,                  §
ENERSON & HORNIK, LLC                   §
                                        §
             Defendants.                §

                  Corrected Plaintiff’s Memorandum in Support of
                   Final Approval of the Class Action Settlement

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       Introduction and Class Member Response to the Notice of Settlement

      Plaintiff James Heironimus did a fine job here. Due to his diligence, 134 class

members are going to receive $100 each, if this settlement is approved. Accordingly,

under Fed. R. Civ. P. 23, Plaintiff moves this Court for final approval of the

proposed class-action settlement. As explained below, notice has been provided to

the Class Members in accordance with the Court’s Preliminary Approval Order and

none of the class members has opted out or objected. This substantial recovery for

the Class Members merits final approval of the settlement.

I.    Background and Summary of Settlement

      On January 16, 2017, Plaintiff filed this case on behalf of himself and a class

of similarly situated individuals, alleging violations of the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. §1692, et seq. Plaintiff alleged that Defendants

Cavalry Portfolio Services, LLC and Rausch, Sturm, Israel, Enerson & Hornik,

LLC, violated the FDCPA by failing to provide the name of the current alleged

creditor, Cavalry Portfolio Services, LLC, in its initial written communications with

Mr. Heironimus and the Class Members. Instead, Defendants included an odd

statement that recipients of the letter should “Please refer to original judgment

Wells Fargo Bank, N.A.” By failing to give the name of the current creditor,

Defendants violated 15 U.S.C. §1692g of the FDCPA, which requires that this

information be given in writing within five days of a debt-collector’s initial

communication with a consumer.

      Shortly after filing, the parties began lengthy settlement discussions that
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culminated in a Class Action Settlement Agreement and Release (the “Agreement”),

which is on file as ECF# 13-1. Essentially, after extensive arm’s-length negotiations,

the parties agreed to a statewide class settlement for 134 class members for $100.00

per class member.

         In addition to this settlement fund, Defendant agreed to pay the cost of class

notice and administration, the individual award to the Class Representatives, and

attorney fees and costs for Class Counsel. The settlement agreement permits class

counsel to petition for fees and costs up to $25,000. The proposed individual award

of $4,000 to the Class Representative is based on his involvement in litigating and

negotiating the settlement.

         Under Fed. R. Civ. P. 23(e), Plaintiffs – with Defendants’ consent and for

settlement purposes only – moved for class certification and preliminary approval of

the proposed class action settlement. Specifically, Plaintiff requested that the Court

certify the following proposed class:

               All individuals in the United States to whom during the
               period from January 16, 2016, through the date of
               preliminary approval, Rausch, Sturm, Israel, Enerson &
               Hornik, LLC sent a letter substantially similar to Exhibit
               A to Plaintiffs Complaint and whose letter was not
               returned as undeliverable.

On May 1, 2018, the Court granted preliminary approval of the Settlement and

scheduled a Fairness Hearing for August 27, 2018.1




1   Dkt. 15.                                2
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      Due process, in the class action context, is satisfied if the notice provides

class members with the “information reasonably necessary for them to make a

decision whether to object to the settlement.”2 Here, the Parties agreed to direct-

mail notice designed to reach all the Class Members. Defendants assembled a class

list using the last known physical addresses of those Class Members as reflected in

Defendants’ business records. Defendants then stuffed the envelopes and gave them

to Plaintiff’s attorney, Dana Karni, to physically deposit in a mailbox, which she

did. The class list identified 134 consumers to whom Defendants sent the same or

similar collection letters at issue in this matter. As detailed in the Declarations of

Dana Karni and Emanuel Newburger, notice of the class action settlement was

mailed to all 134 Class Members in accordance with the Court’s Preliminary

Approval Order.3

      The Supreme Court has concluded that direct notice satisfies due process.4 In

sum, the Parties have complied fully with the Court’s Preliminary Approval Order

and have taken reasonable steps to ensure that the Class Members were notified –




2 In re Katrina Canal Breaches Litig., 628 F.3d 185, 197 (5th Cir.2010); see also
Wal–Mart Stores, 396 F.3d at 114 (explaining that “the settlement notice must
fairly apprise the prospective members of the class of the terms of the proposed
settlement and of the options that are open to them in connection with the
proceedings” (internal quotation marks omitted)); AGGREGATE LITIGATION §
3.04(a) (“The purpose of a notice of a proposed class settlement is to set forth the
major contours of the proposal and to inform class members of their right to attend
the fairness hearing and to lodge written objections by a prescribed date should
they so desire.”).
3 Karni Declaration at ¶9.                 3
4 Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812-13 (1985).
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in the best and most direct manner possible – of the Settlement’s terms and

benefits.

II.      Factors Bearing on Final Approval

         The Parties seek, under the terms of the Court’s Preliminary Approval Order

and federal law, final approval of the Settlement. The Settlement is the result of

litigation, followed by lengthy settlement negotiations conducted at arm’s length.

Most significantly, the Settlement provides significant monetary benefit to the

Class Members.

         A class settlement, and subsequent dismissal of the case, requires Court

approval.5 The process for that approval is discussed generally in Rule 23(e), which

provides, in relevant part:

         (e) Settlement, Voluntary Dismissal, or Compromise.

         The claims, issues, or defenses of a certified class may be settled, voluntarily
         dismissed, or compromised only with the court's approval. The following
         procedures apply to a proposed settlement, voluntary dismissal, or
         compromise:

         (1) The court must direct notice in a reasonable manner to all class members
         who would be bound by the proposal.

         (2) If the proposal would bind class members, the court may approve it only
         after a hearing and on finding that it is fair, reasonable, and adequate. . . .6

         Rule 23(e) thus imposes two basic requirements on the parties and on the

Court before the approval of a class settlement and dismissal. First, the Court must




5   Fed. R. Civ. P. 23(e)(1)(A).
6   Fed. R. Civ. P. 23(e).                    4
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determine that notice was directed “in a reasonable manner to all class members.”7

Second, the Court must determine that the settlement “is fair, reasonable, and

adequate.”8 Plaintiffs address these requirements seriatim.

         Federal jurisprudence strongly favors resolution of class actions through

settlement.9 Federal Rule of Civil Procedure 23 requires Court review of the

resolution of a class action such as this one. Specifically, the Rule provides that

“[t]he claims, issues, or defenses of a certified class may be settled, voluntarily

dismissed, or compromised only with the court’s approval.”10 “The reason the court

is called on to review a settlement is to protect the rights of the many absent class

members who were not involved in the negotiations leading to settlement.”11 The

Court may approve a settlement only after a hearing and on finding that it is “fair,

reasonable, and adequate.”12

         “The approval of settlements in class actions is left to the sound discretion of

the district court.”13 Additionally, there is a strong presumption in favor of finding

the settlement fair.14 The proposed settlement is not required to “achieve some



7   Fed. R. Civ. P. 23(1).
8   Fed. R. Civ. P. 23(2).
9San Francisco NAACP v. San Francisco Unified Sch. Dist., 59 F. Supp. 2d 1021,
1029 (N.D. Cal. 1999); see also Alba Conte & Herbert Newberg, Newberg on Class
Actions § 11.41 (4th ed. 2002) (“The compromise of complex litigation is encouraged
by the courts and favored by public policy.”)
10 Fed. R. Civ. P. 23(e).
11   In re Corrugated Container Antitrust Litigation, 643 F.2d 195, 225 (5th Cir. 1991).
12   Fed. R. Civ. P. 23(e)(2).
13 Miller v. Republic Nat. Life Ins. Co., 559 F.2d 426 (5th Cir. 1977).
14 Garza v. Sporting Goods Properties, Inc., No. CIV. A. SA–93–CA–108, 1996 WL

56247, at *11 (W.D.Tex. Feb. 6, 1996).       5
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hypothetical standard constructed by imagining every benefit that might someday

be obtained in contested litigation.”15 Rather, “[c]ompromise is the essence of

settlement, and the Court may rely on the judgment of experienced counsel for the

parties.”16

III.     The Notice was Reasonable and the Best Practicable

         In a settlement class maintained under Rule 23(b)(3), class notice must meet

the requirements of both Federal Rules of Civil Procedure 23(c)(2) and 23(e). Rule

23(e) specifies that “[n]o class action may be ‘dismissed or compromised without

[court] approval,’ preceded by notice to class members.”17 Rule 23(c)(2) requires that

notice to the class must be “the best practicable under the circumstances, including

individual notice to all members who can be identified through reasonable effort.”18

The Rule also requires that the notice inform potential class members that (1) they

have an opportunity to opt out; (2) the judgment will bind all class members who do

not opt out or appear through counsel.19 The Court must consider the mode of

dissemination and the content of the notice to assess whether such notice was

sufficient.20

         “In every case, reasonableness is a function of anticipated results, costs, and

amount involved.”21 The Parties’ efforts to provide Class Members with Notice of



15   Id. (internal quotation omitted).
16   Id.
17   Fed. R. Civ. P. 23(e).
18   Fed. R. Civ. P. 23(c).
19 Id.
20 See Manual for Complex Litigation (Fourth)
                                          6    § 21.312 (2004).
21 In re Nissan Motor Corp. Antitrust Litigation, 552 F.2d 1088, 1099 (5th Cir. 1977).
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the Class Action demonstrate clearly that they were the best notice practicable

under the circumstances given: (a) the available information; (b) the possible

identification methods; (c) the number of class members; (d) the amount of the

settlement; (e) the value to the class as a whole by holding up the settlement

process for the other class members; (f) the significant additional costs to class

members; and (g) the anticipated results of further identification efforts. Thus, the

Court should find that the Notice of the Class Action (and process followed as

described above) satisfies Rule 23.

IV.     The Settlement is Fair, Reasonable, and Adequate

        Under Rule 23(e)(2), the Court must determine whether the settlement is

fair, reasonable, and adequate. The approval of a proposed settlement agreement is

in the sound discretion of the Court.22

        The Fifth Circuit, in Reed v. General Motors Corp., has identified six factors

to be considered in analyzing the fairness, reasonableness, and adequacy of a class

settlement under Rule 23(e).23 These six “Reed factors” are:

              (1) the existence of fraud or collusion behind the
              settlement; (2) the complexity, expense, and likely
              duration of the litigation; (3) the stage of the proceedings
              and the amount of discovery completed; (4) the probability
              of plaintiffs' success on the merits; (5) the range of
              possible recovery; and (6) the opinions of the class
              counsel, class representatives, and absent class
              members.24


22Parker v. Anderson, 667 F.2d 1204, 1209 n. 5 (5th Cir. 1982).
23 See Newby v. Enron Corp., 394 F.3d 296, 301 (5th Cir. 2004); Reed v. General
Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983).
24 Reed, 703 F.2d at 172 (citing Parker, 667
                                           7 F.2d at 1209).
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In balancing the six factors, “absent fraud or collusion, the most important factor is

the probability of the plaintiffs' success on the merits.”25 A proposed class action

settlement is considered presumptively fair where there is no evidence of collusion

and the parties, through capable counsel, have engaged in arm’s length

negotiations.26

         Sufficient information was exchanged for the Parties to discuss Settlement.

Further, the case was founded upon FDCPA claims with which Plaintiff’s counsel

was familiar, having prosecuted numerous similar matters against other

defendants.27 The Parties fairly reached the Settlement after engaging, through

counsel, in informal discovery to determine the class size and other key information

needed to move for class certification or engage in settlement discussions.

         Although Plaintiff believes liability to be strong, Defendant denies liability.

If tried, Plaintiff would bear the burden of establishing that Defendant’s collection

letter violated the FDCPA. Defendant vigorously denies any wrongdoing, has




25   Parker, 667 F.2d at 1209.
26   See Turner v. Murphy Oil USA, Inc., 472 F.Supp.2d 830, 843 (E.D.La. 2007) (“The
public interest favoring settlement is especially apparent in the class action context
where claims are complex and may involve a large number of parties, which
otherwise could lead to years of protracted litigation and sky-rocketing expenses.”);
In re Train Derailment Near Amite, La., MDL 1531, 2006 WL 1561470, at *19
(E.D.La. May 24, 2006) (“that a class action settlement is reached after arms' length
negotiations by experienced counsel generally gives rise to a presumption that the
settlement is fair, reasonable, and adequate”); see also Ruiz v. McKaskle, 724 F.2d
1149, 1152 (5th Cir.1984) (“trial court ‘should be hesitant to substitute its own
judgment for that of counsel’ ” when the settlement has been reached at arm's
length without fraud or collusion) (citation8 omitted).
27 See accompanying Declaration of Brian L. Bromberg, dated August 24, 2018.
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asserted numerous defenses, and maintains that the letter that is the subject of this

case comply in all respects with the FDCPA.

       The settlement process itself was arm’s-length and fair. Class counsel also

satisfies the procedural fairness requirement of competent representation. Class

counsel has considerable experience in this field and has litigated or is currently

litigating numerous class actions under the FDCPA.

       Also contributing to the fairness analysis is the fact that the class has

overwhelmingly supported the settlement. No class members have objected and no

class members have filed exclusions requests. Courts can consider the lack of class

member opposition in determining whether a class settlement should be approved.28

       Finally, weighing most heavily in favor of approval is that a class recovery of

$100 to each Class Member is one of the larger statutory damage recoveries that

Class Counsel knows of in a class action brought under the FDCPA.29 And Class

Counsel have, between them, many years of practicing law and, more particularly,

consumer law.30

       By its terms, the Settlement provides substantial consideration to the Class

Members. The Settlement is therefore fair, reasonable, and an excellent result for

the class. Additionally, the case was defended by opponents with considerable



28Sykes v Mel Harris and Associates, LLC, No. 09-CV-8486, 2016 WL 3030156, at
*12. (S.D.N.Y. May 24, 2016) (citing, inter alia, Newberg on Class Actions § 13:54
(5th ed.) (“[I]f only a small number of objections are received, that fact can be
viewed as indicative of the adequacy of the settlement.”)).
29 See Bromberg Decl.
30 Id.                                      9
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experience and prior success; and obtaining a jury determination that the alleged

violation was significant enough to warrant maximum statutory damages would

always remain a challenge for Plaintiffs in this case. “Thus, the old adage, ‘a bird in

hand is worth two in the bush’ applies with particular force in this case.”31

           Finally, the Court must consider it an important statement that only a

handful of Class Members have objected to the Settlement. The Settlement has to

be seen as a significant success. “Such a lack of opposition to the partial settlement

strongly supports a finding of adequacy, for ‘the attitude of the members of the

Class, as expressed directly or by failure to object, after notice to the settlement is a

proper consideration for the trial court.’”32

     V.       No one has objected or opted out

           That no one has objected or opted out is a strong indication that the

settlement should be approved.

     VI.      Award to representative Plaintiffs

           Plaintiff requests, and Defendant has agreed not to object to, a personal

award of $4,000 to Plaintiff for the settlement of his individual claims and in



31 Cardiology Associates, P.C. v. National Intergroup Inc., 1987 WL 7030, at *2
(S.D.N.Y. 1989) (concluding that because continued prosecution of the action would
have been expensive and time-consuming, and would have involved substantial
risks, “it [was] not unreasonable for the plaintiff class to take a ‘bird in the hand’”);
see also Alvarado Partners, L.P. v. Mehta, 723 F. Supp. 540, 547 (D. Colo. 1989)
(noting that “[i]t has been held prudent to take ‘a bird in the hand instead of a
prospective flock in the bush’” in weighing the value of an immediate recovery
against “the mere possibility of future relief after protracted and expensive
litigation”).
32 In re MicroStrategy, Inc. Securities Litig.
                                           10 , 148 F. Supp. 2d at 667-68 (quoting
Flinn v. FMC Corp., 528 F.2d 1169, 1173 (4th Cir. 1975)).
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recognition of his services as the Class Representative. This award is warranted

because of the Class Representative’s involvement in this case and commitment to

following up with counsel to assure that they were actively prosecuting this case. In

addition, Plaintiff was actively involved not only in filing and litigating this case,

but in negotiating the settlement. Most importantly, however, the awards are, in

part, to compensate Plaintiff for his individual claims against Defendant. In sum,

Plaintiff has been a model class representative, and such awards are both

reasonable and of the type commonly approved.33

     VII.   Cy Pres Award

        Any funds from settlement checks un-cashed (i.e., checks not cashed within

90 days of the date on which they were mailed to Class Members) or other

undistributed funds shall be awarded to Lone Star Legal Aid.

     VIII. The attorney fees and costs sought by Plaintiff on behalf of the class are
           fair and reasonable

        Plaintiff, on behalf of the class, seeks an agreed-upon recovery of up to

$25,000 for attorney fees and costs. This sum was only discussed and negotiated

after the parties had reached agreement on what was being paid to the class and

then on what was being paid to Plaintiff. 34

        Under Amchem Products, Inc. v. Windsor,35 the Court must ensure that the

payment is fair and reasonable. Congress enacted the FDCPA more than three




33 See Bromberg Decl.
34 See Bromberg Decl.                   11
35 Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997).
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decades ago because of “abundant evidence of the use of abusive, deceptive, and

unfair debt collection practices” that harm the marketplace economy by

“contribut[ing] to the number of personal bankruptcies, to marital instability, to the

loss of jobs, and to invasion of individual privacy.”36 Congress found that existing

laws and procedures were “inadequate to protect consumers” and “means other than

misrepresentation or other abusive debt collection techniques are available for the

effective collection of debts.”37 Congress encouraged consumers to bring FDCPA

actions before Federal Article III judges by eliminating any “amount in controversy”

requirement.38 Congress also fostered enforcement of the FDCPA by enacting

statutory damages and mandating that debt collectors pay “reasonable attorney’s

fees as determined by the court.”39

       A. In awarding fees and costs, Courts should bear in mind Congress’ goals in
          mandating fee-shifting under the FDCPA

       Congress enacted the FDCPA more than three decades ago because of

“abundant evidence of the use of abusive, deceptive, and unfair debt collection

practices” that harm the marketplace economy by “contribut[ing] to the number of

personal bankruptcies, to marital instability, to the loss of jobs, and to invasion of

individual privacy.”40 Congress found that existing laws and procedures were

“inadequate to protect consumers” and “means other than misrepresentation or



36 15 U.S.C. § 1692(a).
37 15 U.S.C. § 1692(b) and (c).
38 15 U.S.C. § 1692k(d).
39 15 U.S.C. § 1692k(a)(3).
40 15 U.S.C. § 1692(a).                    12
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Article III judges by eliminating any “amount in controversy” requirement.42

Congress also fostered enforcement of the FDCPA by enacting statutory damages

and mandating that debt collectors pay “reasonable attorney’s fees as determined by

the court.”43

       B. FDCPA fee standards

       Attorney fees and costs are recoverable to consumers under the FDCPA.44

Civil suits will deter abusive practices only if it is economically feasible for

consumers to bring them. “Unless consumers can recover attorney’s fees, it may not

be possible for them to pursue small claims. . . . Congress recognized this problem

and specifically provided for the award of attorney fees to successful plaintiffs.”45

          C. The proposed fee is reasonable

       The 12 “Johnson factors” used in this Circuit to calculate a “presumptively

reasonable fee” when petitioning for fees under a lodestar analysis.46 The Johnson

factors are: (1) the time and labor required; (2) the novelty and difficulty of the



41 15 U.S.C. § 1692(b) and (c).
42 15 U.S.C. § 1692k(d).
43 15 U.S.C. § 1692k(a)(3).
44 15 U.S.C. § 1692k(a)(3) (“[I]n the case of any successful action to enforce the

foregoing liability, [any debt collector who fails to comply with any provision of this
subchapter with respect to any person is liable to such person in an amount equal to
the sum of] the costs of the action, together with a reasonable attorney’s fee as
determined by the court.”)
45 Venes v. Professional Service Bureau, Inc., 353 N.W.2d 671 (Minn. App. 1984).
46 Johnson v. Georgia Hwy. Exp., Inc., 488 13F.2d 714, 717-19 (5th Cir. 1974),
abrogated on other grounds by Blanchard v. Bergeron, 489 U.S. 87, 92–93 (1989).
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questions; (3) the skill requisite to perform the legal services properly; (4) the

preclusion of other employment by the attorney due to acceptance of the case; (5)

the customary fee in the community; (6) whether the fee is fixed or contingent; (7)

time limitations imposed by the client or the circumstances; (8) the amount of time

involved and the results obtained; (9) the experience, reputation, and ability of the

attorneys; (10) the “undesirability” of the case; (11) the nature and length of the

professional relationship with the client; and (12) awards in similar cases.47

       There is no strict formula as to how these factors are applied. Once a figure

for attorney fees is calculated using the Johnson factors, that amount becomes the

“lodestar” which can then be adjusted upwards or downwards, again using the

Johnson factors.48 “[M]any of those factors usually are subsumed within the initial

calculation of hours reasonably expended at a reasonable hourly rate.”49 If the

lodestar figure is properly calculated, adjustment will be unnecessary in most cases.

There is a strong presumption that the lodestar figure (reasonable hours multiplied

by a reasonable rate) represents a reasonable fee.50 Currently prevailing

marketplace rates establish the lodestar amount.51 “The district court may not

reduce the established market rate by some factor that it believes accounts for


47 Id. at 717-19.
48 Hensley v. Eckerhart, 461 U.S. 424, 433-34, 103 S.Ct. at 1939-40 (1983).
49Id. at 434 n.9, 103 S.Ct. at 1940 n. 9.
50 Blanchard, 489 U.S. at 95, quoting Pennsylvania v. Delaware Valley Citizens’

Council for Clean Air, 478 U.S. 546, 656 (1986).
51 Missouri v. Jenkins by Agyei, 491 U.S. 274, 283 (1989); Blum v. Stenson, 465 U.S.

886, 895 (1984); DiFilippo v. Morizio, 759 F.2d 231, 235 (2d Cir. 1985) (rejecting 46
hours on pretrial memo and 42 hours on fee application); Cohen v. West Haven Bd.
of Police Com’rs, 638 F.2d 496, 506 (2d Cir.
                                          14 1980).
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differences between large firms and small firms. Lawyers of common expertise and

experience in the same market are entitled to the same rate.”52

       District courts should not treat an attorney’s status as a solo practitioner as

grounds for an automatic reduction in the reasonable hourly rate. Cases suggest

that in determining the relevant “market,” a court may look to rates charged by

those similarly situated, including looking to the rates charged by large- or medium-

sized law firms.53 But whether or not the aforementioned premise – that the bigger

the firm the higher the attorneys’ hourly rates charged – is correct, and even

assuming that solo practitioners of equal skill, expertise and reputation, charge less

than those at large- or medium-sized firms, courts should not automatically reduce

the reasonable hourly rate based solely on an attorney’s status as a solo

practitioner. Overhead is not a valid reason for why certain attorneys should be

awarded a higher or lower hourly rate.54 Rather, overhead merely helps account for

why some attorneys charge more for their services. Indeed, it may be that in certain

niche practice areas, attorneys of the highest “skill, expertise, and reputation” have

decided to maintain a solo practice instead of affiliating themselves with a firm. The


52Bankston v. State of Illinois, 60 F.3d 1249, 1255-56 (7th Cir. 1995); Bailey v.
District of Columbia, 839 F. Supp. 888, 891 (D.D.C. 1993) (no distinction between
solo and large firm rate); Gary v. Kason Credit Corp., No. 95-CV-54 (D. Conn. Oct.
21, 1998) (rejecting “overhead” argument).
53 See, e.g., Chambless v Masters Mate & Masters Pension Plan, 885 F.2d 1053,

1058-59 (2d 1989); Algie v. RCA Global Commc’ns, Inc., 891 F. Supp. 875, 895
(S.D.N.Y. 1994).
54 Miele v. New York State Teamsters Conference Pension & Retirement Fund,831

F.2d 407, 409 (2d Cir. 1987); Blum, 465 U.S. at 895-96 (rejecting the Solicitor
General’s suggestion that fees awarded to non-profit legal aid societies be based on
a “cost-related standard”).              15
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reasons for doing so may be numerous, including the inherent problems of higher

overhead, fee-sharing, and imputed conflicts of interest. The focus of the inquiry

into the reasonable hourly rate must instead be determined by reference to

“prevailing [rates] in the community for similar services by lawyers of reasonably

comparable skill, expertise, and reputation.” 55 Working as a solo practitioner may

be relevant to defining the market,56 but it would be error to use an attorney’s solo

status as an automatic deduction or shortcut for determining the reasonable rate.57

         While the Court has discretion to determine the proper fee, “the latitude of its

discretion is narrowed by a presumption that successful [litigants] should recover

reasonable attorney’s fees unless special circumstances render such an award

unjust. . . . Furthermore, where, as here, the party achieves success on the merits,

an award of all reasonable hours at a reasonable hourly rate, i.e., the lodestar

figure, is presumptively appropriate.”58 “[A] party advocating the reduction of the

lodestar amount bears the burden of establishing that a reduction is justified.”59

            D. Plaintiff’s attorneys’ hourly rates are reasonable

         As set forth in the accompanying declarations from Class Counsel and from



55   Blum, 465 U.S. at 895, n.11; Chambless, 885 F.2d at 1058-59.
56   See Chambless, 885 F.2d at 1059 (“smaller firms may be subject to their own
prevailing market rate”).
57 McDonald v. Pension Plan of the NYSA-ILA Pension Trust Fund, 450 F.3d 91, 98
n.6 (2d Cir. 2006) (emphasis added).
58 DiFilippo, 759 F.2d at 234 (discussing civil rights litigants).
59 United States Football League v. National Football League, 887 F.2d 408, 413 (2d

Cir. 1989) (awarding $5,500,000 in fees on $3 recovery), cited in Grant v. Martinez,
973 F.2d 96, 101 (2d Cir. 1992). See Laura B. Bartell, Taxation of Costs and Awards
of Expenses in Federal Court, 101 F.R.D.16 553, 560-62 (1984).
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local attorneys who practice in this Courthouse, the requested rates of Class

Counsel here – $550 an hour for Mr. Bromberg and $400 an hour for Ms. Karni –

represent the prevailing rates in this Court.

            E. Attorney fees incurred in connection with the fee petition are
               recoverable.

       Attorney fees incurred pursuing a motion for an award of attorney fees are

recoverable.60 The time spent pursuing fees is to be awarded so that the fees

awarded under a statute are not diluted.61

            F. An upward adjustment should be made, but is not necessary here
               because Plaintiff’s fees and costs exceed the agreed-upon amount


       The burden of proof is on the opponent to present specific evidence that a

lower amount is appropriate.62 Here, as detailed in the accompanying Declarations

of Brian L. Bromberg and Dana Karni, Plaintiff’s lodestar and costs combined –

including the travel-time and the costs for Mr. Bromberg to travel to and stay in

Houston – exceed $25,000. The billing rates on this case are $550 an hour for Mr.

Bromberg and $400 an hour for Ms. Karni. After considerable negotiation, Plaintiff

agreed an award of attorney fees and costs up to $25,000, subject to the Court’s

approval.

       This case settled due to Plaintiff’s attorneys’ knowledge and expertise in the



60 Johnson v. State of Miss., 606 F.2d 635, 638 (5th Cir. 1979).
61 Id.
62 See, e.g., United States Football League, 887 F.2d at 413; Gates v. Deukmejian,

987 F.2d 1392, 1397-98 (9th Cir. 1992) (fee opponent must submit evidence);
Brinker v. Giuffrida, 798 F.2d 661, 668 (3d
                                          17Cir. 1986) (“[T]here is ordinarily no
reason for a court to disregard uncontested affidavits of a fee applicant”).
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field of consumer-protection law. With the exception of Plaintiff’s attorneys, few law

firms are regularly prosecuting FDCPA cases to class certification. Many, if not

most, such cases settle individually. Large firms will not take class cases under the

FDCPA because of the cap on statutory damages and small firms rarely prosecute

such cases effectively. Because the lodestar and costs exceed $25,000, Plaintiff is not

seeking a multiplier. A multiplier would, however, be merited for having achieved

extraordinary results.63

       Moreover, under the adjustment factors identified in the Fifth Circuit case of

Johnson v. Georgia Highway Express, Inc., the fees and costs agreed upon by the

parties are fair and reasonable.64 And in reviewing the factors below, Class Counsel

asks that Your Honor bear in mind that the recovery here is rare and exceptional

are the results obtained here: few consumers file and successfully prosecute class

actions under the FDCPA in this Court. A multiplier would be warranted, but for

the fact that the lodestar and costs exceed $25,000.65 With these rare and

exceptional results in mind, Plaintiffs now proceed to analyze the requested fees



63 Vizcaino v. Microsoft, 290 F.3d 1043 (9th Cir. 2002) (surveying many decisions
awarding multipliers and concluding that multipliers between 1 and 4 are the norm
in common fund cases); In re Cendent Corp. PRIDES Litig., 243 F.3d 722, 742 (3d
Cir. 2001) (“‘multiples ranging from one to four are frequently awarded in common
fund cases when the lodestar method is applied.’”); New England Carpenters Health
Benefits Fund v. First Databank, Inc., No. 05-11148, 2009 WL 2408560, at *2 (D.
Mass. Aug. 3, 2009) (approving multiplier of about 8.3 times lodestar, where
attorney fees represented 20% of the common fund); In re Beverly Hills Fire Litig.,
639 F.Supp. 915 (E.D.Ky, 1986) (five); In re Cenco Inc. Sec. Litig., 519 F.Supp. 322
(N.D.Ill. 1981) (multiplier of four to lead firm).
64 Johnson, 488 F.2d at 717-719.
65 Perdue, 559 U.S. 542, 552, 130 S.Ct. 1662,
                                            18 1673, 176 L.Ed.2d 494 (“enhancements
may be awarded in ‘rare’ and ‘exceptional’ circumstances”).
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under the Johnson factors.

       1. The time and labor required.

       The Parties engaged in substantial discovery and negotiations before settling.

Plaintiffs submit that the time expended prosecuting this action is warranted given

the protracted negotiations that resulted in the settlement. Moreover, the time

expended was modest under the circumstances due to counsel’s experience in

consumer-protection litigation.

       Class Counsel hail from small firms, and they do the bulk of the work on

their own. As one district court has noted:

             . . . attorneys, like plaintiff’s counsel, operating either as
             solo practitioners or in small firms, often lack the
             resources to retain a large staff of junior lawyers who
             could handle (certain more clerically related) tasks more
             economically. Denying plaintiffs compensation for these
             tasks would unfairly punish plaintiffs and their counsel
             for not staffing this case as if they had the manpower of a
             major law firm.66

 Therefore, the time spent by Plaintiffs’ counsel to complete this litigation, as

 set forth in the attachments hereto, warrants upward adjustment of the

 lodestar. Furthermore, when the settlement checks are sent out, Class

 Counsel anticipates, based on experience, that Ms. Karni and Mr. Bromberg

 will receive numerous inquiries from class members.

       2. The novelty and difficulty of the questions.




 Bailey, 839 F. Supp. at 891; see also, Withers
66                                       19     v. Eveland, 997 F. Supp. at 740, and
Morgan v. Credit Adjustment Board, 1998 U.S. Dist. Lexis 8135 at 5.
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         The questions presented by this case were not routine. The key question here

is whether the violation alleged would be subject to the so-called bona fide error

defense. Fighting this defense would have required extensive discovery that only

experienced counsel could bring to bear. Therefore, the novelty and difficulty of the

issues provide no basis to adjust the lodestar downward, but does provide a basis for

adjusting it upwards. Even if the case had been entirely straightforward, the

lodestar amount may not be reduced.67

         3. The skill requisite to perform the legal services properly.

         Successful litigation of FDCPA class actions requires skill and familiarity

with the issues involved. Plaintiffs’ counsel knows of very few attorneys who

purport to be able to litigate plaintiffs’ consumer-protection cases on a class-wide

basis. Most attorneys do not recognize the legal issues involved in such cases, and

requests for representation are generally turned away by members of the Bar. And

in this Court, few FDCPA are pursued to class-certification. Because of the skill of

Plaintiff’s counsel and the rarity of successfully prosecuting FDCPA class actions in

this district, Plaintiffs request an upward adjustment of the lodestar.

         4. The preclusion of other employment.

         The time spent on this case was not, and could not be, spent at the same time

on other cases. There are substantial opportunity costs in preparing the necessary

documentation and briefing to represent plaintiffs in a contingency or fee-shifting

case in federal court. The substantial amount of time expended on Plaintiffs’ behalf


                                             20
67   DiFilippo, 759 F.2d at 235.
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was time which would have been spent on other matters, had this case not been

filed or litigated to this extent.

       Therefore, it is appropriate to consider that whenever an attorney takes a

case, he or she does so to the exclusion of accepting other work. Plaintiffs’ counsel

expended the requisite amount of time reviewing the case and litigating it to its

conclusion, to the exclusion of helping other consumers. Thus, some consumers did

not receive counsel’s help so that Mr. Heironimus and the Class could. Because the

time spent on this case would have been expended on other matters, this factor

provides a basis for an upward adjustment of the lodestar.

       5. The customary fee for like work in the community.

       Plaintiff’s fee request is well within the range of similar work and is an

amount recognized by other courts. The fee is thus reasonable and the going rate for

like work in this area. But the involvement of Plaintiff’s counsel in this case

undoubtedly is the primary factor that led to settlement on a class basis. Therefore,

Plaintiff requests an upward adjustment of the lodestar. This Johnson factor is

addressed in greater detail below.

       6. Whether the fee is fixed or contingent.

       An award of attorney fees in a contingency fee matter should compensate

counsel for the risk of receiving no compensation. In consumer-protection cases, the

fee is very often contingent – not on the amount of damages, but on an award by the

court or agreement by the opponent. In a private attorney general case, Congress

encourages counsel to sue, recognizing that counsel cannot charge the client an
                                         21
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hourly fee, because the fee may be out of proportion to the recovery. If contingent,

the fee award should compensate counsel for the risk of receiving no compensation.

“Lawyers operating in the marketplace can be expected to charge a higher hourly

rate when their compensation is contingent on success than when they will be

promptly paid, win or lose.” 68 For example, Mr. Bromberg was also involved in the

FDCPA case entitled Lemire v. Wolpoff & Abramson, P.C.69 There the plaintiffs

settled the case after prevailing on a disputed motion to certify the class. The

settlement provided for a negotiated attorney fee of $53,000. Notwithstanding the

successful work performed in that case, the defendant dissolved, making collection

of the settlement amount impracticable, and necessitating decertification.

       The availability of an award of reasonable fees is doubly important in

Consumer Credit Protection Act matters, such as Fair Debt Collections Practices

Act and Fair Credit Reporting Act cases, where successful statutory damage awards

may be limited to $1,000 and actual damages may be de minimis, nonexistent or

limited. “Ignoring reasonable contingent fee arrangements or automatically

reducing them would impair claimants’ ability to secure representation.”70 “The

point remains that contingency fees are an acknowledged feature of our legal

landscape, approved by legislative and judicial bodies alike, that help secure for the

impecunious access both to counsel and to court.”71



68 Blum, 465 U.S. at 903.
69 Lemire v. Wolpoff & Abramson, P.C., D. Conn., Docket No. 08-cv-249(CSH).
70 In re Abrams & Abrams, 605 F.3d at 245 (citing Wells v. Sullivan, 907 F.2d 367,

371 (2d Cir. 1990)).                      22
71 Id.
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       Plaintiff’s counsel was willing to provide services to the named plaintiff and

members of the class whether they win or lose the case and whether or not counsel

got paid for that work. This Johnson factor provides no basis here for any change in

the lodestar amount but provides ample support for approval of a lodestar amount

at the high end of market compensation for legal counsel. “Successful outcomes

often make risks seem less risky in hindsight than they were at the time, and the

court should not have ignored those risks merely because at some later point in

litigation the defendant found it in its interest to settle.”72

       Class Counsel was willing to provide services to Plaintiffs whether they won

or lost their cases and whether counsel would receive compensation for that work.

This factor justifies an upward adjustment of the lodestar.

       7. Time limitations imposed by the client or the circumstances.

       The time limits here were imposed by the applicable statutes of limitations,

the Rules, and those set by the Court. Because of the effects of Hurricane Harvey on

Ms. Karni, her family, and her home, which were covered by a reporter from the

New York Times, many of the deadlines on this case had to be extended, so this

factor was not as important as it might have otherwise been.73 Therefore, this

Johnson factor does not warrant an adjustment in either direction.

       8. The amount involved and the results obtained.



72Id., at 248.
73See “Harvey and Irma Wiped Out Our Kitchens. Still, We Cook.” New York
Times, September 19, 2017, available at
https://www.nytimes.com/2017/09/19/dining/houston-hurricane-harvey-
                                       23
kitchens.html.
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         The results obtained for the Plaintiffs were significant, and they reflect

counsel’s substantial efforts in preparing and litigating this matter. Plaintiffs have

obtained a monetary recovery for each class member that is high for a “letter

violation.” This is an extraordinary result, warranting an upward adjustment of the

lodestar.

         9. The experience, reputation and ability of the attorney.

         One of Plaintiff’s attorneys, Dana Karni, has been practicing for 14 years, is

admitted in Texas, and has an established reputation as a consumer-protection

attorney.74 Most recently, Ms. Karni won a large jury-verdict against a car

dealership in a Federal Odometer Act case that garnered national attention.

Plaintiff’s other attorney, Brian L. Bromberg, has been practicing for 27 years, is

admitted in New York, New Jersey, and California, and has established a strong

reputation as a consumer-protection attorney.75 Even though Mr. Bromberg lives

and works in New York City, Ms. Karni and Mr. Heironimus asked him to

participate in this case because of his experience in litigating FDCPA class actions

and because there are no consumer-side attorneys in Houston who regularly

litigated class actions under the FDCPA. (Mr. Bromberg is frequently asked by

attorneys in other cities and states to assist in class actions and he has successfully

helped prosecute such cases.) Mr. Bromberg also agreed to co-counsel the case

because one of the defendants, Cavalry Portfolio Services, LLC, is in Westchester




74   See Declaration of Dana Karni.        24
75   See Declaration of Brian L. Bromberg.
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County, New York, which is within the jurisdiction of the Southern District of New

York, so fees and costs could be reduced by holding some of the depositions in New

York City or in Westchester. Having Mr. Bromberg involved in the case also helped

speed up case-resolution, because he has settled several class actions with

Defendants’ attorney, Manuel Newburger, Esq., in the past. These factors warrant

an upward adjustment of the lodestar.

      10. The undesirability of the case.

      There are very few attorneys who have the knowledge, ability, and

willingness to represent consumers in this area of law. Most attorneys are unwilling

to take the risk of large investments of time for what appear at first blush to be

minor, small dollar cases. Very few attorneys regularly prosecute FDCPA cases to

conclusion as class actions. Searches on Westlaw and PACER will reveal that a

substantial number of successful certifications of a class under the FDCPA have

involved Mr. Bromberg as class counsel. Many other attorneys will file such cases as

class actions, but few push them to certification. (Mr. Bromberg is also willing to

push cases beyond the district-court level, frequently taking cases up on appeal.)

Accordingly, this factor, too, warrants an upward modification of the lodestar.

      11. The nature and length of the professional relationship with the client.

      Mr. Heironimus retained his attorneys specifically to pursue the specialized

consumer-protection laws at issue. Plaintiff sought them out because of their legal

abilities and reputations in this area of the law. Such representation is limited to

consumer-protection claims, which are episodic rather than ongoing. Unlike their
                                        25
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big-firm brethren, consumer attorneys cannot rely on hefty retainers from paying

institutional clients or insurance companies over many years. Therefore, this

Johnson factor warrants an upward modification.

         12. Awards in similar cases.

         There are few reported cases in Texas discussing attorney fee awards in

FDCPA class actions. Courts recognize that fee awards are to mimic the

marketplace. Thus, “[p]aying counsel in FDCPA cases at rates lower than those

they can obtain in the marketplace is inconsistent with the congressional desire to

enforce the FDCPA through private actions, and therefore misapplies the law.”76 In

any event, the results achieved here warrant an upward modification of the

lodestar.




                                            26
76   Tolentino, 46 F.3d at 653; Zagorski, 128 F.3d 1164.
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                                      Conclusion

      The Parties have reached a Settlement in this case that provides a genuine

benefit to the Class Members. The Settlement is an excellent result. Each Class

Member will receive a substantial recovery of $100. In addition, the terms of the

Settlement as well as the circumstances surrounding negotiations and its

elimination of further costs caused by litigating this case through trial and appeal

satisfy the Fifth Circuit’s strictures for final approval. Accordingly, Plaintiffs ask

the Court for an Order approving the Settlement and Class Counsel’s request for

attorney fees and costs of $25,000.

Dated: August 27, 2018
                                         PLAINTIFF, JAMES HEIRONIMUS,
                                         Individually, And On Behalf Of the Class,

                                           By: /s/ Brian L. Bromberg
                                               Brian L. Bromberg




                                           27
